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                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF IDAHO

REBECCA ROE, by and through her
parents and next friends, et al.            Case No. 1:23-cv-00315-DCN

                   Plaintiffs,              CONSOLIDATED RESPONSE
                                            IN OPPOSITION TO MOTION
v.                                          FOR PRELIMINARY
                                            INJUNCTION AND
DEBBIE CRITCHFIELD, in her official         STATEMENT OF INTEREST
capacity as Idaho State Superintendent of   AND IN SUPPORT OF
Public Instruction, et al.                  MOTION TO DISMISS

                   Defendants.
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                                   INTRODUCTION

      This case concerns a challenge to Idaho S.B. 1100, which institutes the

traditional practice of separating bathrooms, locker rooms, and overnight stays by

sex in Idaho public schools. Sex separation of bathrooms is both “nearly universal”

and longstanding—it has existed not just from the founding of this country, but since

time immemorial. Adams by and through Kasper v. Sch. Bd. of St. Johns Cnty., 57

F.4th 791, 796 (11th Cir. 2022) (en banc). It is based on what S.B. 1100 recognizes as

the “real and inherent physical differences between men and women” and the natural

right of every person “to privacy and safety in restrooms and changing facilities where

such person might be in a partial or full state of undress in the presence of others.”

Idaho Code § 33-6601 [33-6701] (1)-(2). S.B. 1100 codifies that practice for multi-

occupancy bathrooms, but it also provides an accommodation through unisex, single-

occupancy bathrooms. Idaho Code § 33-6605 [33-6705].

      Plaintiffs say this is illegal under the Equal Protection Clause and Title IX.

They are wrong. The Court should deny an injunction and dismiss their claims.

      First, Plaintiffs’ equal protection claims fail. S.B. 1100’s sex classification for

bathroom use easily satisfies intermediate scrutiny.         As the Eleventh Circuit

recognized in Adams, sex-separation of bathrooms has existed since before the

Fourteenth Amendment was adopted.           The practice directly serves sex-specific

interests of safety and privacy, including in protecting one’s unclothed figure from

being seen by the opposite sex. Byrd v. Maricopa Cnty. Sheriff’s Dep’t, 629 F.3d 1135,

1141 (9th Cir. 2011). Nor is there any merit to the view that this sex classification


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was meant to discriminate against people with gender dysphoria. Gender dysphoria

is not a proxy for sex, and the law accommodates those who have it.

      Second, Plaintiffs’ Title IX claims fail too. Plaintiffs ignore that Title IX and

its implementing regulations specifically state that sex-separated restrooms are

permissible. The federal government, in contrast, acknowledges the regulations, but

says they do not apply to transgender people. But it does so despite a preliminary

injunction entered in favor of Idaho that prohibits the federal government from

enforcing that position to enjoin state laws. See Tennessee v. United States Dep’t of

Educ., 615 F. Supp. 3d 807 (E.D. Tenn. 2022). An interpretation enjoined by one

preliminary injunction is not a basis to grant another.

      Because Plaintiffs’ claims fail as a matter of law, they cannot show they are

likely to succeed on the merits. But even if they could show “serious questions” on

the merits, that would not be enough for an injunction since they cannot show that

the balance of harms tips decidedly in their favor. To the contrary, they have no

irreparable harm, since S.B. 1100 provides them accommodation through gender-

neutral single-occupancy bathrooms that their own expert’s cited authorities say “can

be viewed as part of gender-affirming support and care.” Price-Feeney, Impact of

Bathroom Discrimination on Mental Health Among Transgender and Nonbinary

Youth, 68 J. ADOLESCENT HEALTH No. 6, at 1143 (June 2021) (Ex. 4); Budge Dep. at

95:12-19 (Ex. 1).1 The law supports them; it does not injure them.



1 All references to Exhibits are to those attached to the accompanying Declaration of

Lincoln D. Wilson.

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      Society-wide cultural changes have led to “vexing line-drawing dilemmas for

legislatures” over “access to bathrooms” and other issues, which ought to provoke

“hesitancy” for the courts to step in. L.W. by and through Williams v. Skrmetti, 73

F.4th 408, 420 (6th Cir. 2023); Eknes-Tucker v. Gov. of Alabama, ___ F.4th ____, 2023

WL 5344981 (11th Cir. Aug. 21, 2023). Where “the States are currently engaged in

serious,   thoughtful   debates   about   the   issue,”   then   “[t]he   burden   of   …

constitutionalizing new areas of American life is not—and should not be—a light

one.” Id. at 415–16 (citation omitted). Plaintiffs have not met that burden.

                               STANDARD OF DECISION

      A motion to dismiss under Rule 12(b)(6) may seek dismissal based on “the lack

of a cognizable legal theory or the absence of sufficient facts alleged under a

cognizable legal theory.’” Godecke v. Kinetic Concepts, Inc., 937 F.3d 1201, 1208 (9th

Cir. 2019) (quoting Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir.

1990)). A preliminary injunction requires four elements: (1) a likelihood of success

on the merits; (2) likely irreparable harm without an injunction; (3) that the balance

of equities weighs in favor of an injunction; and (4) that an injunction is in the public

interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Or if the

plaintiff shows only “’serious questions’ going to the merits” rather than a likelihood

of success, then she must show irreparable injury, that the public interest is satisfied,

and that “the balance of hardships tips sharply in the plaintiff’s favor.” All. for the

Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011).




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                                     ARGUMENT

I.    Plaintiffs’ claims fail on the merits.

      As this Court has acknowledged, “there is already a circuit split on the issues

raised in this case.” Dkt. 44 at 8. Late last year, the en banc Eleventh Circuit upheld

a law indistinguishable from S.B. 1100. Adams, 57 F.4th at 796. A Fourth Circuit

panel has ruled the opposite, over a dissent by Judge Niemeyer. Grimm v. Gloucester

Cnty. Sch. Bd., 972 F.3d 586 (4th Cir. 2020). And the Seventh Circuit has done

likewise, Whitaker v. Kenosha Sch. Dist., 858 F.3d 1034 (7th Cir. 2017), with Judge

Easterbrook expressing the opinion that the Eleventh Circuit’s decision “better

understands how Title IX applies” in this context. A.C. by M.C. v. Metro. Sch. Dist.

of Martinsville, No. 22-1786, 2023 WL 4881915, at *11 (7th Cir. Aug. 1, 2023)

(Easterbrook, J., concurring). The best-reasoned authorities show that Plaintiffs’

claims fail as a matter of law and are due to be dismissed. But at minimum, with no

controlling decision from the Ninth Circuit, “this divided backdrop” undermines

Plaintiffs’ attempt to show they are likely to prevail on the merits. Dkt. 44 at 8.

      That becomes even more clear in considering the Supreme Court’s

reaffirmation that the Constitution’s text and original public meaning is the lodestar

for its interpretation. Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228 (2022);

N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022). “Constitutional

analysis must begin with ‘the language of the instrument,’ ... which offers a ‘fixed

standard’ for ascertaining what our founding document means.” Dobbs, 142 S. Ct. at

2244–45 (citation omitted). The analysis is “rooted in the … text, as informed by


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history.” Bruen, 142 S. Ct. at 2127. Thus, in evaluating constitutional claims, courts

must consider “whether the Constitution, properly understood,” confers the right in

question. Dobbs, 142 S. Ct. at 2234. And a constitutional challenge to state law will

not succeed where an “overwhelming consensus” has historically upheld the

regulations in question. Id. at 2253-54. These standards doom Plaintiffs’ claims.

      A.     Plaintiffs’ Equal Protection claims fail as a matter of law.

      Although the Equal Protection clause protects “sex” as a basic “immutable

characteristic,” Frontiero v. Richardson, 411 U.S. 677, 686 (1973), this Court has

recognized that it “does not require courts to disregard the physiological differences

between men and women.” Hecox v. Little, 479 F. Supp. 3d 930, 976 (D. Idaho 2020)

(citing Michael M. v. Superior Ct. of Sonoma Cty., 450 U.S. 464, 481 (1981)). “To fail

to acknowledge even our most basic biological differences … risks making the

guarantee of equal protection superficial, and so disserving it.” Tuan Anh Nguyen v.

I.N.S., 533 U.S. 53, 73 (2001). Those physiological differences between men and

women are “enduring” and should be a “cause for celebration,” not the denigration, of

the “two sexes.” U.S. v. Virginia, 518 U.S. 515, 533 (1996). “The truth is that the two

sexes are not fungible; a community made up exclusively of one is different from a

community composed of both; the subtle interplay of influence one on the other is

among the imponderables.” Ballard v. U.S., 329 U.S. 187, 193 (1946). Even in

addressing questions related to gender dysphoria, the Supreme Court has continued

to recognize sex as referring “to biological distinctions between male and female.”




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Bostock v. Clayton County, Georgia, 140 S. Ct. 1739 (2020). That is because gender

dysphoria is a “distinct concept[] from sex.” Id. at 1746–47.

      Because the two sexes are in some respects “similarly situated” and in other

respects “meaningfully dissimilar,” see City of Cleburne, Tex. v. Cleburne Living Ctr.,

473 U.S. 432, 439 (1985), the Supreme Court has directed that classifications based

on sex are subject to intermediate scrutiny. Clark v. Jeter, 486 U.S. 456, 461 (1988).

That is, those classifications must serve “‘important governmental objectives” and be

“‘substantially related to the achievement of those objectives.’” Adams, 57 F.4th at

801 (quoting Miss. Univ. for Women v. Hogan, 458 U.S. 718, 724 (1982)). S.B. 1100

is subject to intermediate scrutiny because it classifies based on sex: “the immutable

biological and physiological characteristics, specifically the chromosomes and

internal and external reproductive anatomy, genetically determined at conception

and generally recognizable at birth, that define an individual as male or female."

Idaho Code § 33-6602 [33-6702](3). And based on that definition, S.B. 1100 codifies

the longstanding historical practice of requiring sex-separated use of bathrooms,

locker rooms, and overnight lodging at public schools as a matter of state law. Idaho

Code § 33-6603 [33-6703] (2)-(4). In upholding these well-settled practices, S.B. 1100

easily survives intermediate scrutiny under historical-textual analysis. Dobbs, 142

S. Ct. at 2244–45; Bruen, 142 S. Ct. at 2131.

          1. Sex-separated bathrooms protect safety and privacy.

      As Judge William Pryor observed in dissenting from the original panel opinion

in Adams, “[n]ot long ago, a suit challenging the lawfulness of separating bathrooms


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on the basis of sex would have been unthinkable.” Adams v. Sch. Bd. of St. Johns

Cnty., Fla., 3 F.4th 1299, 1321 (11th Cir. 2022) (panel opinion) (W. Pryor, J.,

dissenting). That “common-sense” practice has been deemed acceptable because “it

protects well-established privacy interests in using the bathroom away from the

opposite sex.” Id. And as the en banc Eleventh Circuit ultimately held in Adams, the

history of this practice is ultimately fatal to Plaintiffs’ challenge. Adams 57 F.4th at

796; accord Dobbs, 142 S. Ct. at 2244–45; Bruen, 142 S. Ct. at 2131.

      “[S]ex-separation in bathrooms dates back to ancient times, and, in the United

States, preceded the nation’s founding.” W. Burlette Carter, Sexism in the “Bathroom

Debates”: How Bathrooms Really Became Separated by Sex, 37 Yale L. & Pol’y Rev.

227, at 229 (2018). These practices have occurred “[a]cross societies and throughout

history … in order to address privacy and safety concerns arising from the biological

differences between males and females.” G.G. ex rel. Grimm v. Gloucester Cnty. Sch.

Bd., 822 F.3d 709, 734 (4th Cir. 2016) (Niemeyer, J., concurring in part and dissenting

in part), vacated and remanded by Gloucester Cnty. Sch. Bd. v. G. G. ex rel. Grimm,

137 S. Ct. 1239 (2017); Carter, supra, at 228. The practice was certainly common at

the time the Fourteenth Amendment was ratified. Peter C. Baldwin, Public Privacy:

Restrooms in American Cities, 1869–1932, 48 J. of Soc. Hist. 264 (2014). And so even

before Idaho’s statehood, “[s]chools educating both sexes followed sex-separation in

multi-entry intimate spaces.” Carter, supra, at 277 n.212.

      Separating bathrooms by sex has provided significant protection for women. It

was “among the earliest state-wide attempts to protect women from workplace sexual


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harassment,” id. at 279–283, and it was a victory in the women’s rights movement.

Kevin Stuart & DeAnn Barta Stuart, Behind Closed Doors: Public Restrooms and the

Fight for Women’s Equality, 24 Tex. Rev. L. & Pol. 1, 28–29 (2019). Thus, Title IX,

which Plaintiffs invoke as the basis for their claims, “provides a statutory carve-out

for ‘maintaining separate living facilities for the different sexes.’” Adams, 57 F.4th

at 813 (quoting 20 U.S.C. § 1686). As Justice Ginsburg wrote before taking the bench,

“[s]eparate places to disrobe, sleep, [and] perform personal bodily functions are

permitted, in some situations required, by regard for individual privacy.” Ruth Bader

Ginsburg, The Fear of the Equal Rights Amendment, Wash. Post, Apr. 7, 1975, at

A21.2

        Federal caselaw illustrates how these well-worn justifications for sex

separation of restrooms have endured in the twentieth and twenty-first centuries.

Justice Thurgood Marshall famously quipped that “[a] sign that says ‘men only’ looks

very different on a bathroom door than a courthouse door.” City of Cleburne, 473 U.S.

at 468–69 (Marshall, J., concurring).     The Supreme Court acknowledged that

admitting women to the Virginia Military Institute for the first time “would

undoubtedly require alterations necessary to afford members of each sex privacy from


2 Self-described feminist commentators have argued for the same thing.   “[L]eaving
aside the risk of assault, sex-segregated bathrooms give women the peace of mind of
knowing they can use the bathroom, attend to their menstrual needs and to small
children, with a degree of privacy and dignity that would otherwise not exist.”
Cambridge Radical Feminist Network, There Is Nothing Progressive About Removing
Women-Only Bathrooms, Medium (Jan. 13, 2019). And the loss of that private space
will fall most heavily on “those individuals who—due to having a history of sexual
assault, or for religious reasons—do not feel comfortable using a shared intimate
space with male strangers.” Id.

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the other sex in living arrangements.” U.S. v. Virginia, 518 U.S. 515, 550 n.19.

Courts of appeals have likewise noted society’s “undisputed approval of separate

public rest rooms for men and women,” Faulkner v. Jones, 10 F.3d 226, 232 (4th Cir.

1993), in order “to accommodate privacy needs.” Chaney v. Plainfield Healthcare Ctr.,

612 F.3d 908, 913 (7th Cir. 2010). And not long ago, the Ninth Circuit in particular

emphasized that “[t]he desire to shield one’s unclothed figure from [the] view of

strangers, and particularly strangers of the opposite sex, is impelled by elementary

self-respect and personal dignity.” Byrd, 629 F.3d at 1141.

      Plaintiffs do not acknowledge this long tradition recognizing the importance of

sex separation in areas of personal bodily privacy. Much less do they grapple with

the reasons for it. That is fatal to their claims.3



3 Plaintiffs assert, without elaboration, that the record is “Bereft of Any Evidence”

supporting the legislature’s findings regarding safety and privacy. Dkt. 15-1 at 5.
This is mistaken as a matter of law because it criticizes what is inherent to such
legislative facts—that is, those facts “which have relevance to legal reasoning and the
lawmaking process,” rather than adjudicative facts, which are “the facts of the
particular case.” Fed. R. Evid. 201, Advisory Comm. Note. Legislative facts are “facts
relevant to shaping a general rule,” Ind. Harbor Belt R.R. Co. v. Am. Cyanamid Co.,
916 F.2d 1174, 1182 (7th Cir. 1990) (Posner, J.), that “have salience beyond the
specific parties to [a] suit,” Carhart v. Gonzales, 413 F.3d 791, 799 (8th Cir. 2005)
(citation omitted), rev’d, 550 U.S. 124 (2007), and “help the tribunal decide questions
of law and policy and discretion.” Langevin v. Chenango Ct., Inc., 447 F.2d 296, 300
(2d Cir. 1971) (Friendly, C.J.) (quotation marks and citation omitted); United States
v. $124,570 U.S. Currency, 873 F.2d 1240, 1244 (9th Cir. 1989). They are not subject
to ordinary rules of judicial notice, see Fed. R. Evid. 201, and they may be established
by material in the briefs at any stage of the proceeding, even on appeal. See Daggett
v. Comm’n on Governmental Ethics & Election Pracs., 172 F.3d 104, 112 (1st Cir.
1999); Free v. Peters, 12 F.3d 700, 706 (7th Cir. 1993) (Posner, J.); Dunagin v. Oxford,
718 F.2d 738, 748 n.8 (5th Cir. 1983). And the critical legislative facts here—the
safety and privacy interests that support sex-separated bathrooms—are amply
supported by the authorities set forth in this brief.

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          2. The best-reasoned caselaw upholds sex-separated bathrooms.

      Plaintiffs are not likely to succeed on the merits because the courts of appeals

are split on whether sex-separated bathrooms comply with equal protection. And not

only are the courts of appeals split, but the key decisions on these questions have

generated multiple opinions, including concurrences and dissents. Among those

opinions, the best-reasoned decisions uphold laws like S.B. 1100 and show that

Plaintiffs’ claims fail as a matter of law.

      Most significant, in Adams, the en banc Eleventh Circuit upheld what it

termed “the unremarkable—and nearly universal—practice of separating school

bathrooms based on biological sex.” 57 F.4th at 796. As Judge Lagoa’s opinion for

the court explained, “public bathrooms” are “likely the most frequently encountered

example” of the “long tradition in this country of separating sexes” in certain

circumstances.    Id. at 801.    Where that happens in public schools, additional

deference is warranted, given “‘the schools’ custodial and tutelary responsibility for

children.’” Id. at 801-02 (quoting Vernonia Sch. Dist. 47J v. Acton, 515 U.S. 646, 656

(1995)). In light of that tradition and deference, sex-separation of bathrooms both

“advances the important governmental objective of protecting students’ privacy in

school bathrooms and does so in a manner substantially related to that objective.” Id.

at 803. As the court explained, “protection of individual privacy will occasionally

require some segregation between the sexes,” id. at 804, and so it is “no surprise,

then, that the privacy afforded by sex-separated bathrooms has been widely

recognized throughout American history and jurisprudence.” Id. at 805. And those


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privacy interests are sex-specific, because they “hinge on using the bathroom away

from the opposite sex and shielding one’s body from the opposite sex.” Id. at 806.

Given the direct fit between those sex-specific privacy interests and sex separation of

bathrooms, the Eleventh Circuit upheld the law. See id.; accord D.H. by A.H. v.

Williamson Cnty. Bd. of Educ., No. 3:22-CV-00570, 2022 WL 16639994, at *10 (M.D.

Tenn. Nov. 2, 2022).

      Likewise, while Plaintiffs rely on the Fourth Circuit’s overturning of a similar

school board policy in Grimm, see Dkt. 15-1, far more persuasive is the vigorous

dissent by Judge Niemeyer, who would have held that sex-separation of bathrooms

in “accord with longstanding and widespread practice” was “appropriately justified

by the needs of individual privacy, as has been recognized by law.” 972 F.3d at 628

(Niemeyer, J., dissenting).    It “is constitutional for a school to provide separate

restrooms for its male and female students … because there are biological differences

between the two sexes that are relevant with respect to restroom use.” Id. at 636.

The “privacy interest” that people have when “they remove clothes and engage in

personal hygiene, … is heightened when persons of the opposite sex are present,” and

especially so for children, who “are still developing, both emotionally and physically.”

Id. (quotation omitted). Whatever the majority may have believed about the wisdom

of certain policies for students with gender dysphoria, “our role as a court is limited”—

to “apply the law and … leave it to Congress to determine policy.” Id. at 637.

      Nor is anything in Parents for Privacy v. Barr, 949 F.3d 1210 (9th Cir. 2020),

to the contrary. That case was the converse of this one: it did not overturn sex-


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separated bathrooms, but rather rejected a challenge to a policy that allowed students

with gender dysphoria to use bathrooms of the opposite sex. Id. at 1217–18. And of

course, holding that the Constitution does not require sex-separated bathrooms is not

the same as holding that the Constitution forbids sex-separated bathrooms. In fact,

the variety of legislative approaches on the question suggests the opposite: that the

constitution permits latitude on the question. L.W., 73 F.4th at 412, 415–416.

      The Ninth Circuit’s recent decision in Hecox v. Little, ___ F.4th ___, 2023 WL

5283127 (9th Cir. Aug. 17, 2023), is even less applicable.        Although the State

disagrees with that decision, the Ninth Circuit’s opinion distinguished Adams by

being quite clear that “bathrooms by their very nature implicate important privacy

interests and are not the equivalent of athletic teams.” Id. at *10 & n.10. The State’s

interest in personal sexual safety and privacy that supports S.B. 1100 is wholly

distinct from the interests of fairness and protecting athletic scholarships for women

that were cited to this Court in support of the Fairness in Women’s Sports Act. Hecox

v. Little, 479 F. Supp. 3d 930, 980-83 (D. Idaho 2020). Likewise, while the Ninth

Circuit concluded that the Fairness in Women’s Sports Act discriminated directly

against persons with gender dysphoria, Hecox, 2023 WL 5283127 at *7-8, S.B. 1100

classifies based only on sex. See infra at Section I.A.3. Hecox “address[ed] only the

Act before [the court], and opine[d] on no other regulation or policy.” Hecox, 2023 WL

5283127 at *22. There is no basis to extend Hecox to this context.




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          3. S.B. 1100 classifies based on sex, not gender dysphoria.

      Plaintiffs work in vain to characterize S.B. 1100 as discriminating based on

their status as individuals with gender dysphoria. S.B. 1100 separates bathrooms,

locker rooms, and overnight stays based on sex—it does not account for or distinguish

students based on gender dysphoria or any other characteristic. To respect the safety

and privacy of all students in areas where they may be partially undressed, S.B. 1100

simply requires all students to use the restroom or changing facilities that correspond

with their sex. So while S.B. 1100 does separate restroom facilities by sex, it treats

every similarly situated individual the same. All males must use the boys’ restroom

(or a single-occupancy restroom), and all females must use the girls’ restroom (or a

single-occupancy restroom).

      This separation based on biological sex requires no knowledge or awareness of

gender dysphoria, and as a result, necessarily does not discriminate based on

transgender status or gender identity. As the Eleventh Circuit explained in Adams,

such a law “does not depend in any way on how students act or identify,” but rather

“separates bathrooms based on biological sex, which is not a stereotype.” Adams, 57

F.4th at 809. There is no classification based on gender dysphoria since there is a

“lack of identity” between that classification and the sex-based line drawn by the law,

which includes people with gender dysphoria on both sides. Id. (discussing Geduldig,

417 U.S. at 486, 496–97). Even a disparate impact on persons with gender dysphoria,

to have any basis to be actionable, would require a showing it was “motivated by

purposeful discrimination.” Id. at 810 (quotation omitted). Plaintiffs lack any such


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evidence—to the contrary, the law specifically provides an accommodation for people

with gender dysphoria that Dr. Budge’s studies acknowledge “can be viewed as part

of gender-affirming support and care.” Price-Feeney at 1143 (2021); Budge Dep. at

95:12-19.4 And even then, as a matter of original meaning, the Equal Protection

Clause and Title IX have nothing at all to say about gender dysphoria or transgender

status since those concepts were essentially unknown when both the Fourteenth

Amendment and Title IX were enacted. Dobbs, 142 S. Ct. at 2244–45; Bruen, 142 S.

Ct. at 2131; Carl R. Trueman, The Rise and Triumph of the Modern Self 19, 350–57

(2020).

      Nor does it make a difference that the Ninth Circuit applies intermediate

scrutiny to classifications concerning gender dysphoria. The Ninth Circuit adopted



4 Plaintiffs seek to minimize the common-sense findings of the legislature in support

of S.B. 1100 and instead strain to find evidence of discriminatory intent in legislative
testimony. But “[s]tray remarks of individual legislators are among the weakest
evidence of legislative intent,” Tingley v. Ferguson, 47 F.4th 1055, 1087 (9th Cir.
2022), and “it is quite a leap to attribute these motives to all the legislators whose
votes were responsible for the enactment of those laws.” Dobbs, 142 S. Ct. at 2256;
Barhart v. Sigmon Coal, 534 U.S. 438, 457 (2002). None of the speakers in support
of the bill expressed any animus towards transgender individuals or “professed a
belief that transgender people do not or should not exist.” Dkt 15-1 at 6. Rather,
Plaintiffs find discrimination only through mischaracterization—for example, by
pointing to Senator Trakel’s comments regarding “some small child” being “molested
or raped in the bathroom.” Id. But Senator Trakel was simply addressing whether
documented cases of harm were required to enact a preventative law—whether “we
have to wait for someone to be hurt, or injured or raped before we implement a law”
(Feb.      23,    2023,     Senate     Educ.     Comm.       Hearings      at     52:28;
https://tinyurl.com/4w8mkpvh)—and made clear that he did “not think that the risk
of harm or anything comes from the trans community, but … from predators and
people that would abuse this policy to get into opposite sex bathrooms, locker rooms,
and overnight trips.” Mar. 15, 2023, House Educ. Comm. Hearings at 25:13
(https://tinyurl.com/yvpnrn38).

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that standard in Karnoski v. Trump, 926 F.3d 1180, 1192 (9th Cir. 2019), which

concerned a policy that directly forbade military service by persons with gender

dysphoria. Id. at 1186. But S.B. 1100 does not make any such classification here: it

“facially classifies based on biological sex,” not gender dysphoria. See Adams, 57

F.4th at 808. Just like in Adams, S.B. 1100 “does not classify students” according to

gender dysphoria “because a ‘lack of identity’ exists” between that diagnosis “and a

policy that divides students into biological male and biological female groups … for

purposes of separating the male and female bathrooms by biological sex.” Id. at 809;

L. W., 73 F.4th at 412. And even if intermediate scrutiny applied under Karnoski, it

makes no difference: that standard already applies based on the law’s sex

classification, and S.B. 1100 passes it with flying colors.

      Finally, Plaintiffs cannot save their case by invoking the Supreme Court’s

statutory interpretation of Title VII’s sex discrimination provisions in Bostock, 140 S.

Ct. For one, Bostock was painstakingly clear that it did “not purport to address

bathrooms, locker rooms, or anything else of the kind.” Id. at 1753. And more

important, the heart of its analysis that Plaintiffs rely on—that “it is impossible to

discriminate against a person for being transgender without discriminating against

that individual based on sex”—does not apply here. Dkt. 15-1 at 12 (quoting Bostock,

140 S. Ct. at 1741). This is not a case like Bostock where Plaintiffs attempt to leverage

a classification based on gender dysphoria into a classification based on sex. In fact,

it’s the opposite: Plaintiffs argue that a classification based on sex should be treated

as a classification based on gender dysphoria. Nothing in Bostock permits that logical


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inversion. And it is also plainly wrong. As Adams observed, a classification based on

sex is not necessarily a classification based on gender dysphoria, since individuals

with gender dysphoria fall into both of the two sexes. Adams, 57 F.4th at 808-09.

      B.     Title IX expressly allows for sex-separated bathrooms.

      Plaintiffs say that S.B. 1100 violates Title IX because its requirement of sex-

separated bathrooms necessarily discriminates “on the basis of sex.”          20 U.S.C.

§ 1681. They omit, however, that the Title IX and its implementing regulations

“explicitly permit” schools to classify based on sex in this area. Adams, 57 F.4th at

811. Title IX states that no provision in that chapter “shall be construed to prohibit

any educational institution receiving funds under this Act, from maintaining

separate living facilities for the different sexes.” 20 U.S.C. § 1686.         And the

regulations allow schools receiving federal funds to provide “separate toilet, locker

room, and shower facilities on the basis of sex,” so long as the facilities “provided for

students of one sex [are] comparable to such facilities provided for students of the

other sex.” 34 C.F.R. § 106.33. They also allow schools to “provide separate housing

on the basis of sex,” so long as the housing is “[p]roportionate in quantity to the

number of students of that sex applying for such housing” and “[c]omparable in

quality and cost to the student.” 34 C.F.R. § 106.32(b). Since Title IX allows the

practice in question, the fact that the Ninth Circuit has held that Title IX protects

gender identity is simply immaterial. See Grabowski v. Ariz. Bd. of Regents, 69 F.4th

1110, 1116 (9th Cir. 2023). Plaintiffs’ construction of Title IX “is untenable and

appears to contradict the very purpose of allowing separate facilities.”         D.H. v.


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Williamson Cnty. Board of Educ., No. 3:22-cv-00570, 2022 WL 16639994, at *10.

(M.D. Tenn. 2022).     As the Eleventh Circuit logically observed, what the law

specifically permits it necessarily does not forbid. Adams, 57 F.4th at 811.

      Plaintiffs ignore Adams, but urge the Court to follow the decisions of the

Fourth, Sixth, and Seventh Circuits that have held that Title IX prohibits sex-

separated bathrooms.     Dkt. 15-1 at 17 n.8. But the reasoning of those decisions

rejecting the express language of Title IX’s regulations is not persuasive, as the

separate opinions in each of those courts illustrates. Judge Niemeyer dissented in

the Fourth Circuit, explaining that “[c]ontrary to Grimm’s claim, Title IX and its

regulations explicitly authorize the policy followed by the High School.” Grimm, 972

F.3d at 628 (Niemeyer, J., dissenting). Judge Sutton dissented in the Sixth Circuit,

noting that the U.S. Supreme Court’s grant of a stay from the Fourth Circuit’s initial

ruling in Grimm “necessarily found that the school board was reasonably likely to

succeed on the merits.” Dodds v. United States Dep’t of Educ., 845 F.3d 217, 223 (6th

Cir. 2016) (Sutton, J., dissenting). And Judge Easterbrook in the Seventh Circuit

expressed that Adams “better understands how Title IX applies” in this context. A.C.,

2023 WL 4881915, at *11 (Easterbrook, J., concurring).

      Unlike Plaintiffs, the federal government at least acknowledges that its own

Title IX regulations permit separation of bathrooms by sex, but says, without citation,

that those rules do “not hold when the student is transgender.” Dkt. 41 at 10. But

what the federal government omits is even more disturbing: that it has been enjoined

from enforcing this interpretation against the State of Idaho, which successfully sued


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it to block this very theory. See Tennessee, 615 F. Supp. 3d 807. In that injunction,

the district court ruled that the federal government’s interpretation was likely

legislative, since it was “a new position inconsistent with ... [the Department’s]

existing regulations.” Id. at 839. The district court specifically enjoined Defendant

Kristen Clarke, the principal signatory to the government’s statement of interest in

this matter. Id. at 816. And it did so to prevent, among other things, Ms. Clarke’s

interference with Idaho’s “sovereign authority to enforce state laws.” Id. at 822. Ms.

Clarke’s failure to cite this injunction while filing a brief seeking to overturn Idaho

law is troubling indeed, and Defendants reserve all their rights.

       Further, if Title IX were not clear enough on its face, its role as spending clause

legislation is even more compelling. “A safeguard of our federalist system is the

demand that Congress provide the States with a clear statement when imposing a

condition on federal funding because legislation enacted pursuant to the spending

power is much in the nature of a contract.” Adams, 57 F.4th at 815 (quotation and

citation omitted). Thus, the “legitimacy of Congress’ power” under the spending

power “rests on whether the State voluntarily and knowingly accepts the terms of the

‘contract.’”   Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981)

(citations omitted). And “if Congress intends to impose a condition on the grant of

federal moneys, it must do so unambiguously.” Id. So if Congress meant to forbid

sex-separated bathrooms through regulations that specifically approve them, it ought

to have said so clearly. It manifestly did not.




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       C.     Plaintiffs’ scientific case is biased and deeply flawed.

       Plaintiffs base their scientific case on the testimony of Dr. Stephanie Budge,

“a psychologist and professor with expertise in transgender health.” Dkt. 15-1 at 2.

Dr. Budge has acknowledged in print media that she is an “advocate” and “activist”

regarding transgender issues and is not concerned that her research might be

“tainted” and viewed as biased as a result. Budge Dep. at 112:13-120:5; Peter Coutu,

Changing the Culture, Isthmus (Sept. 21, 2017) (Ex. 2). She says that reliability “can”

be important to scientific research, but would not agree that it is a necessary

ingredient. Budge Dep. at 29:20-33:19. Federal law is to the contrary. See Daubert

v. Merrell Dow Pharms., 509 U.S. 579, 113 S. Ct. 2786 (1993). And while the Rules

of Evidence do not apply at the preliminary injunction stage, Dr. Budge’s “activist”

opinion would not meet the criteria for admissibility under Rule 702.5

       Dr. Budge says that while most people have a “sex assigned at birth,” for those

who have gender dysphoria, their subjective “gender identity” is “determinative” of

their sex.   Dkt. 15-1 at 2-3 (citing Budge Decl. ¶ 25).           She says that under

“internationally accepted Standards of Care” promulgated by World Professional

Association for Transgender Health (“WPATH”),6 people with gender dysphoria

should receive “social transition,” which requires them to “live fully in accordance

with their gender identity in all aspects of life.” See id. (citing Budge Decl. ¶¶ 15, 34).




5 These arguments relate only to Plaintiffs’ motion for preliminary injunction.

6 Defendants served a subpoena on WPATH for records related to its Standards of

Care, which WPATH has agreed to produce, subject to entry of a protective order.

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She says this requires use of multi-occupancy bathrooms of the sex with which they

identify, claiming that using gender-neutral single-occupancy restrooms “is

stigmatizing and damaging.” See id. at 7 (citing Budge Decl. ¶ 52). She is wrong on

every one of these points.

          1. Gender identity does not determine sex.

      Dr. Budge cites nothing in support of her bold assertions about “sex … assigned

at birth” and the allegedly “determinative” status of subjective professions of gender

identity. Dkt. 15-5 ¶¶ 21-22. But as explained by Defendants’ expert Dr. James

Cantor, that notion is contrary to science, through which “the sex of a fetus is typically

known by sonogram or amniocentesis many months before birth,” as seen in

“increasingly popular ‘gender reveal’ events.” Cantor Decl. ¶ 49.7 It is also contrary

to the law—among other things, Bostock’s recognition of discrimination based on

gender dysphoria is based on the premise that the individual’s sex is different than

their subjective identity. See Bostock, 140 S. Ct. at 1741. So while Dr. Budge

purported to apply “a scientific process” in reaching her opinions, Budge Dep. at

18:22-19:4, her attempt to conflate gender identity and sex is just an “ipse dixit of the

expert.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). Cantor Decl. ¶¶ 47-48.

          2. WPATH’s standards are not “internationally accepted.”

      Dr. Budge said she reviewed “the full extent of the literature” in forming her

opinion, Budge Dep. at 16:23-17:10, and she agreed “scientists should take into




7 Dr. Budge refused to admit that prenatal genetic tests are capable of determining

the sex of a child. Budge Dep. at 45:21-46:5.

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account all of the information when making conclusions.” Id. at 21:13-21. Courts

concur: “sound scientific methodology requires that a scientist consider all of the

scientific evidence when making causation determinations.” In re Zoloft, 26 F. Supp.

3d 449, 463 (E.D. Penn. 2014). And “expert testimony that ‘cherry-picks’ relevant

data” should be excluded. EEOC v. Freeman, 778 F.3d 463, 469 (4th Cir. 2015)

(collecting cases); In re Lipitor, 892 F.3d 624, 634 (4th Cir. 2018); Rink v. Cheminova,

Inc., 400 F.3d 1286, 1293 n.7 (11th Cir. 2005).

      Dr. Budge did not apply the standard she endorses. Instead, she emphasizes

WPATH’s statements that “puberty-delaying medication and gender-affirming

hormones are appropriate and medically necessary treatments for adolescents.” Dkt.

15-5 ¶ 31. And she ignored two systematic reviews—one by the UK’s National Health

Service and one by Sweden—that determined that the benefits of those treatments,

if any, did not outweigh their known risks for children. Budge Dep. at 106:6-111:11;

Cantor Decl. ¶ 126. Dr. Budge admitted she was aware of those reviews at the time

they happened, see id., 108:4-10, yet her declaration filed in July 2023 did not cite

them, much less discuss or distinguish them. Dkt. 15-5. It is frankly “alarming” that

Dr. Budge engaged in this “biased reliance on favorable sources” while ignoring two

systematic reviews by European medical authorities that “could not be more relevant”

to her opinions. Daniels-Feasel v. Forest Pharms., Inc., 2021 WL 4037820, slip op., at

*12 (S.D.N.Y. Sept. 3, 2021), aff’d, 2023 WL 4837521 (2d Cir. July 28, 2023). Her

result-oriented opinion warrants little weight.




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          3. In most cases, gender dysphoria desists without intervention.

      Dr. Budge also fails to mention the eleven cohort studies that have followed

minors with gender dysphoria, all of which reported that a majority of cases desisted

without any intervention. Cantor Decl. ¶¶ 54-57. That is all the more troubling

because she was previously confronted with those studies in a case challenging a

similar Oklahoma law. See Cantor Bridge Decl. App. 3 (Ex. 5); Budge Dep. at 87:3-

88:17. At her deposition in this case, Dr. Budge tried to dismiss those studies as “very

old,” Budge Dep. at 58:12-59:5, even though the largest and most recent study dates

to 2021. See Singh (2021) (Ex. 3); Budge Dep. at 85:14-86:2. Then, when reviewing

that study for the first time at deposition, Dr. Budge offered the ad hoc explanation

that the study should never have been published and that the subjects likely did not

have gender dysphoria. Budge Dep. at 59:6-22; 80:11-84:17.8 But again, the very

first sentence of the study says it “reports follow-up data on the largest sample to

date of boys clinic-referred for gender dysphoria.” Singh (2021) at 1 (emphasis added).

      Dr. Budge thus “selectively discuss[es] studies most supportive of her

conclusions,” Zoloft, 26 F. Supp. 3d at 460 (E.D. Penn. 2014), and “fails to explain

information that otherwise would tend to cast doubt on that theory.” In re Rezulin

Prod. Liab. Litig., 369 F. Supp. 2d 398, 425 (S.D.N.Y. 2005). Such cherry-picking of




8 Dr. Budge also surmised that the patients in the Singh study may not have gender

dysphoria because diagnostic criteria for that condition have changed over time.
Budge Dep. at 82:9-83:5. But that rationalization carries little weight when she also
acknowledged that the diagnostic criteria have become broader over time, and that if
they were applied to the period at issue in the Singh study, she would expect to see
“the same level of diagnoses, same number” as today. Id. at 79:1-80:10.

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favorable evidence “does not reflect scientific knowledge, is not derived by the

scientific method, and is not ‘good science.’” In re Bextra & Celebrex Mktg. Sales Pracs.

& Prods. Liab. Litig., 524 F. Supp. 2d 1166, 1176 (N.D. Cal. 2007); Cantor Decl. ¶

107. The court should disregard or give little weight to Dr. Budge’s declaration.

          4. Single-user bathrooms are an adequate accommodation.

      Dr. Budge’s own authorities undermine her attempt to dismiss single-user

bathrooms as an adequate accommodation.               While S.B. 1100 grants such

accommodation to anyone uncomfortable using sex-separated multi-occupancy

restrooms, Dr. Budge says that “[n]umerous research studies” confirm the “negative

psychological impact of being invalidated and ‘othered’ in these ways.” Budge Decl.

¶ 52. Not so—none of the studies she cites did any research on whether single-user

bathrooms caused the impact she claims. To the contrary, the first study she cited in

support specifically states that “providing gender-neutral bathrooms … can be viewed

as part of gender-affirming support and care.” Price-Feeney at 1143 (2021); Budge

Dep. at 95:12-19. By citing this study to reach “conclusions the authors of the study

do not make,” Dr. Budge “exceed[s] the limits of the conservative scientific

methodology.” McClain v. Metabolife Int’l, Inc., 401 F.3d 1233, 1248 (11th Cir. 2005);

accord Huss v. Gayden, 571 F.3d 442, 459 (5th Cir. 2009); Happel v. Wal-Mart Stores,

Inc., 602 F.3d 820, 826 (7th Cir. 2010); Cantor Decl. ¶ 26. Her authorities do not

support her opinions.




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II.   Plaintiffs are not entitled to a preliminary injunction.

      The legal authorities above show that Plaintiffs’ claims fail as a matter of law,

and at a minimum, the fractured rulings in the courts of appeals undermine their

attempt to show they are likely to succeed on the merits. Plaintiffs note that “‘serious

questions going to the merits’” are enough for an injunction under Ninth Circuit law,

as long as they meet the other elements and show “‘the balance of hardships tips

sharply in the plaintiff’s favor.’” Dkt. 15-1 at 9-10 (quoting All. for the Wild Rockies,

632 F.3d at 1134-35). But they fare no better under this standard—this Court has

already observed that the other “three factors are roughly even.” Dkt. 44 at 7. In

fact, the balance of harms tilts against Plaintiffs, and they cannot show irreparable

harm or support of the public interest. They are not entitled to an injunction.

      First, the balance of harms does not favor Plaintiffs. S.B. 1100 protects the

privacy and safety interests of all who use the bathrooms, locker rooms, and overnight

lodging by ensuring they do not have to expose their undressed bodies to members of

the opposite sex. As set forth above, those interests in shielding one’s “unclothed

figure” from “strangers of the opposite sex” is well settled in the law, particularly in

the Ninth Circuit. Byrd, 629 F.3d at 1141; see also Faulkner, 10 F.3d at 232; Chaney,

612 F.3d at 913. An injunction against S.B. 1100 will leave those safety and privacy

interests wholly unprotected for the majority of students who do not have gender

dysphoria. Adams, 57 F.4th at 806. Under Plaintiffs’ view, the only constitutionally

adequate way to protect all students’ privacy would be “single-stall, sex-neutral

bathrooms.” Id. And that is not the law.


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      Second, Plaintiffs themselves cannot show irreparable harm.            Plaintiffs

emphasize purported stigma, see Dkt. 15-1 at 1, 4, 7, 19, and Plaintiff Roe says using

the multiple-occupancy facility the law allows will cause “outing” to peers. Id. at 8.

Yet S.B. 1100 specifically provides an accommodation—that is the right to use a

unisex, single-occupancy bathroom. Idaho Code § 33-6605 [33-6705]. Plaintiffs say

that single-occupancy bathrooms “impose practical burdens where located in less

accessible areas away from classes.” Dkt. 34-1 at 8. But surely walking to a different

restroom is not irreparable harm of constitutional dimension. Dr. Budge says that

these “gender-neutral” bathrooms, see Budge Dep. at 93:24-94:4, have a “negative

psychological impact” according to “[n]umerous research studies.” Budge Decl. ¶ 52.

And even if such a psychological impact could be irreparable harm, it is not supported

by Dr. Budge’s studies, which did not do any research on whether single-user

bathrooms caused such an impact. Quite the opposite, the first study she cites states

that “providing gender-neutral bathrooms … can be viewed as part of gender-

affirming support and care.” Price-Feeney at 1143 (2021); Budge Dep. at 95:12-19.

      Third, the public interest does not favor an injunction. As Plaintiffs note, this

element “‘merge[s]’” with the balance of harms “‘[w]hen the government is a party.’”

Dkt. 15-1 at 9 (quoting Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir.

2014)). And as set forth above, the harm to the public in losing the safety and privacy

protections of S.B. 1100 weighs decidedly against enjoining the law.

                                       CONCLUSION

      The Court should deny a preliminary injunction and dismiss the Complaint.


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DATED: August 22, 2023.


                              STATE OF IDAHO
                              OFFICE OF THE ATTORNEY GENERAL


                          By: /s/ Lincoln D. Wilson
                              LINCOLN DAVIS WILSON
                              Chief of Civil Litigation and
                              Constitutional Defense




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 22, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which sent a Notice of
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